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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 AMERICA FIRST LEGAL
 FOUNDATION,

      Plaintiff,                                        No. 23-cv-0419 (CJN)

 v.

 UNITED STATES DEPARTMENT OF
 STATE,

      Defendant.


                                      JOINT STATUS REPORT

        Pursuant to the Court’s order dated May 2, 2023, the Plaintiff, American First Legal

Foundation, (‘AFL") and the Defendant, U.S. Department of State (“DOS”), by and through the

undersigned counsel, report to the Court as follows.

        1.         This action involves five Freedom of Information Act (“FOIA”) requests that are

attached as exhibits to the Complaint and that have been assigned the following numbers by

DOS: F-2021-08873, F-2022-00890, F-2022-06035, F-2022-06040, and F-2022-08578. DOS

answered the Complaint on March 24, 2023.

        2.         DOS made its first production on May 31, 2023, at the 400 page processing rate

directed by the Court, and has made further productions on June 30, 2023, July 31, 2023, August

31, 2023, September 29, 2023, October 31, 2023, and November 30, 2023, at that processing

rate, and plans to make a further production at that processing rate by the end of December 2023.

        3.         As stated in the last status report, by email dated October 5, 2023, Defendant

provided revised page estimates for each request and/or subparts of requests, which incorporated

narrowing efforts as of the date of that report, as well as State’s identification of what it
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considers to be the relevant custodians. 1 Defendant continues to estimate that, for all requests

combined, there are approximately 50,000 pages remaining to be processed, of which

approximately half pertain to Request 08578. The parties will continue in their efforts to attempt

to further narrow the requests.

       4.       Pursuant to the Court’s order dated May 2, 2023, the parties will file a

further status report in 60 days.

                                       Respectfully submitted,

                                       By: __/s/ Jacob Meckler________________________
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                                       America First Legal Foundation
                                       Counsel for Plaintiff

                                              AND

                                       MATTHEW M. GRAVES, D.C. BAR#481052
                                       United States Attorney

                                       BRIAN P. HUDAK
                                       Chief, Civil Division

                                       By:     /s/ Jeremy S. Simon
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       DOS states that it continues to reserve the right to challenge whether these requests
reasonably describe the records sought in the event the parties are not able to reach an agreement
on narrowing.
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                     Counsel for Defendant




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